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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE


 In re Grand Canyon Education, Inc.
 Securities Litigation                            Civil. Action. No. 1:20-cv-00639-MN-CJB




                  DEFENDANTS’ REQUEST FOR ORAL ARGUMENT

       Defendants Grand Canyon Education, Inc. (“GCE”), Brian E. Mueller, and Daniel E.

Bachus (“Defendants”), pursuant to Local Rule 7.1.4, respectfully request oral argument before

the Court in connection with Defendants’ Motion to Dismiss (DCKT 36). All briefing on the

Motion to Dismiss has been completed (DCKT 37, 43, 44).

Dated: Wilmington, Delaware
      March 24, 2021

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